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UNITED STATES DISTRICT COURT | :
SOUTHERN DISTRICT OF FLORIDA C30CT 30 Fit 3:05
CASE NO: 03-20226-CR-GOLD CLERE GS Gi SUOOX
C7,

S.D. OF FLA - MIA

UNITED STATES OF AMERICA,
Plaintiff,

V.

COREY STERLING,

Defendant.
/

 

DEFENDANT’S OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT
COMES NOW the Defendant, COREY STERLING, by and through his undersigned counsel
pursuant to Rule 32 of the Federal Rules of Criminal Procedure and hereby files Defendant’s
Objections to Presentence Investigation Report as follows:
Legal Address: (Page 4):Phone Number for Lorraine Hibbert is (305) 681-5482. PSI states none.
Alias: (page 4): Defendant denies ever using the name Carry Sterling as an alias name.
PART A. THE OFFENSE (Page 9-para 23): The defendant denies ever selling powder cocaine or

crack cocaine to Brantley. Defendant gave Brantley money and received drugs from Brantley.

level reduction for minor role. The defendant maintains that his role in the conspiracy and his tenure
in the conspiracy was far less than that of his codefendants. Further, the defendant contends that the
other defendants were held accountable for much more than 150 grams of crack cocaine and that he
was the last to join the conspiracy.

ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (Page | 1-para.39). The defendant

has submitted his letter of responsibility as of this date.
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PART D. SENTENCING OPTIONS (Page 29-para. 106): The defendant maintains that upon the
acceptance of his letter of responsibility his total offense level should be reduced to a 34, with a
criminal history category of VI, resulting in a guideline range of imprisonment of 262-327 months.
If the Court agrees that the defendant should receive a two-level reduction for minor role, then the
defendant’s total offense level would be a 32, with a criminal history category of VI, resulting in a

guideline imprisonment range of 210-262.
Respectfully submitted,

RODERICK D. VEREEN, ESQ.
Florida Bar No. 869589

1101 Brickell Avenue

Suite 1801

Miami, Florida 33131

Tel: (305) 371-7701

Fax: (305) 371-1595

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing was sent via U.S. mail
to Joseph Cooley, AUSA, 99 NE 4" Street, Miami. Florida 33132-2111 and Katrina Jenkins, USPO, ;

300 NE 1™ Avenue, Suite 315, Miami, Florida 33 132-2126 this 28" day of October, 2003.

 

 
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October 10, 2003

Dear Judge Gold:

I would like to take this opportunity to inform the Court that 1 have made a serious
mistake by involving myself in this conspiracy and by again, breaking the law. My
criminal history does not say good things about me. This I know. I am not, however, the
person | appear to be on paper. I have undoubtedly made mistakes in judgment and have
been put in situations this Court could not imagine.

I have made the decision to accept responsibility for my actions and I do not
blame others for what has happened in my life. I have informed the government about
everything | know about this case and my codefendants. ] have agreed to work with them
so that they can prosecute others that were just as guilty or more guilty that 1 am. I am
ashamed that at this young age I have done nothing more than this with my life. But, as I
stated before, I blame no one.

I] can only hope and pray that this Court could see through the PSI and imagine
what kind of life I have been living since 1 was born. I have never had a relationship with
my parents. I never knew my father and my mother literally abandoned me when I was a
child. Had it not been for my Aunt and Uncle I would not have survived. They did what
they could do for me but ! felt that I was a burden on them. I only wanted to make some
quick money so that I could move on with my life. When I got out of prison, I returned to
the same area primarily to collect money from those that owed me before I was arrested
and sent off to prison initially. When I approached Anthony Brantley, one of my
codefendants, he did not have my money, but instead, gave me drugs to sell in order to
earn back the money that he owed me. | was unemployed, unemployable because of my
criminal record and actually desperate for money. I did not chose to rob anyone to make
the money, but instead, sold drugs to drug users to accomplish that goal. That was a
mistake and I recognize that.

I do not wish to insult the Court by stating that I am a good person that has never
been in trouble before. That would be a lie. However, | do want to impress upon the
Court that | can make a change for the better if given an opportunity to do so. I do not
believe that I deserve the sentence as outlined in my PSI. | was not as culpable as most of
the individuals discussed in my PSI. 1 know my criminal history dates back to when | was
a teen, but during that time I was in the streets hustling trying to survive. | felt I had no
one to look after me so | had to look after myself. I did just that. | am not proud of the
things I did and I will forever be ashamed of my actions.

All 1 can ask the Court for is some modicum of mercy. | do not want my child to
feel that he too was abandoned by his father. That is something ] would not wish on any
person. I thank you for your time in reading this letter. God Bless you.

Sincerely,

Corey Sterling \
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